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                                               of 4




1      BRIAN FAHLING, WSBA #18894
       Law Office of Brian Fahling
2      559 Old Mill Rd
       Sandpoint, ID 83864
3
       (425) 802-7326
4
       ERIC KNIFFIN
5      Kniffin Law PLLC
       102 S. Tejon St., Suite 1100
6      Colorado Springs, CO 80903
       (719) 212-4391
7
       ERIC JOB SEESE
8      Frost Brown Todd LLP
       1801 California Street, Suite 2700
9      Denver, CO 80202
10     (303) 406-4990

11
                           UNITED STATES DISTRICT COURT
12                        EASTERN DISTRICT OF WASHINGTON

13        NICHOLAS ROLOVICH,
                                                           NO. 2:22-cv-00319
14                     Plaintiff,
15              v.                                        DECLARATION OF
                                                          ERIC KNIFFIN
16
          WASHINGTON STATE
17        UNIVERSITY, et al.,                              [Filed Concurrently with
                                                           Plaintiff’s Motion for
18                     Defendants.                         Partial Summary Judgment]

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24     DECLARATION OF                                                 LAW OFFICE OF BRIAN FAHLING
                                                                               559 Old Mill Rd
       ERIC KNIFFIN                                                          Sandpoint, ID 83864
25     NO. 2:22-cv-00319-TOR                                                    (425) 802-7326
                                                                         E: bfahling@fahlinglaw.com
     Case 2:22-cv-00319-TOR       ECF No. 89-1    filed 09/23/24    PageID.1193        Page 2
                                             of 4


 1       I, Eric Kniffin, declare as follows:
 2          I am an attorney with Kniffin Law PLLC, representing Plaintiff. I have
 3    personal knowledge of the facts set forth herein.
 4          Attached as Exhibit A is a copy of the Declaration of Nicholas Rolovich, dated

 5    September 23, 2024.

 6          Attached as Exhibit B are copies of produced documents representing text

 7
      messages between Plaintiff Nicholas Rolovich and Father Paul Heric.
            Attached as Exhibit C is a copy of a letter written by Bishop Daly, the
 8
      Catholic Bishop of the Diocese of Spokane, dated August 20, 2021.
 9
            Attached as Exhibit D is a copy of Exhibit 2 to the deposition of Ms. Marty
10
      Dickinson, taken July 30, 2024.
11
            Attached as Exhibit E is a copy of Exhibit 83 to the deposition of Ms. Lisa
12
      Gehring, taken August 20, 2024.
13
            Attached as Exhibit F is a copy of Defendant’s Expert Report of M. Therese
14
      Lysaught, PhD, dated August 9, 2024.
15
            Attached as Exhibit G is a copy of Exhibit 87 to the deposition of Ms. Lisa
16
      Gehring, taken August 20, 2024.
17
            Attached as Exhibit H is a copy of Exhibit 7 to the deposition of Mr. Phil
18
      Weiler, taken August 1, 2024.
19          Attached as Exhibit I is a copy of Exhibit 76 to Ms. Lisa Gehring’s
20    deposition, taken August 20, 2024.
21          Attached as Exhibit J is a copy of Exhibit 86 to Ms. Lisa Gehring’s
22    deposition, taken August 20, 2024.
23          Attached as Exhibit K is a copy of Exhibit 90 to Ms. Lisa Gehring’s
24    deposition, taken August 20, 2024.
25    DECLARATION OF                                                  LAW OFFICE OF BRIAN FAHLING
                                                                               559 Old Mill Rd
      ERIC KNIFFIN                                                           Sandpoint, ID 83864
                                                                                (425) 802-7326
      NO. 2:22-cv-00319-TOR - 1                                          E: bfahling@fahlinglaw.com
     Case 2:22-cv-00319-TOR       ECF No. 89-1    filed 09/23/24      PageID.1194       Page 3
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 1          Attached as Exhibit L is a copy of excerpts from the transcript of the
 2    deposition of Bonnie Dennler, taken August 21, 2024.
 3          Attached as Exhibit M is a copy of Defendant’s Answers and Objections to
 4    Plaintiff’s First Set of Requests for Admission to Defendant.

 5          Attached as Exhibit N is a copy of Exhibit 91 to Ms. Lisa Gehring’s

 6    deposition, taken August 20, 2024.

 7          Attached as Exhibit O is a copy of Exhibit 92 to Ms. Lisa Gehring’s

 8    deposition, taken August 20, 2024.

 9
            Attached as Exhibit P is a copy of Exhibit 93 to Ms. Lisa Gehring’s
      deposition, taken August 20, 2024.
10
            Attached as Exhibit Q is a copy of Exhibit 94 to Ms. Lisa Gehring’s
11
      deposition, taken August 20, 2024.
12
            Attached as Exhibit R is a copy of Defendant’s Expert Report of Renee
13
      DiResta, dated August 9, 2024.
14

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16       I declare under penalty of perjury under the laws of the United States of America

17    that the foregoing is true and correct to the best of my knowledge.

18       Executed on September 23, 2024, in Colorado Springs, Colorado.

19
                                              /s/ Eric N. Kniffin
20                                            Eric N. Kniffin.

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25    DECLARATION OF                                                   LAW OFFICE OF BRIAN FAHLING
                                                                                559 Old Mill Rd
      ERIC KNIFFIN                                                            Sandpoint, ID 83864
                                                                                 (425) 802-7326
      NO. 2:22-cv-00319-TOR - 2                                           E: bfahling@fahlinglaw.com
     Case 2:22-cv-00319-TOR        ECF No. 89-1    filed 09/23/24       PageID.1195        Page 4
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 1                                   CERTIFICATE OF SERVICE
 2       I hereby certify that on the 23rd day of September, 2024, I electronically filed the
 3    forgoing with the Clerk of Court using the CM/ECF System, which in turn
 4    automatically generated a Notice of Electronic Filing (NEF) to all parties in the case
 5    who are registered users of the CM/ECF system. The NEF for the foregoing
 6    specifically identifies recipients of electronic notice. I hereby certify that none of the
 7    represented parties are non-CM/ECF participants.

 8       Executed this 23rd day of September, 2024, at Denver, Colorado.

 9                                              By:      /s/ E. Job Seese
                                                    E. Job Seese
10                                              Frost Brown Todd LLP
                                                1801 California Street, Suite 2700
11                                              Denver, CO 80202
                                                Tele: 303.623.9000
12                                              jseese@fbtlaw.com
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25    DECLARATION OF                                                      LAW OFFICE OF BRIAN FAHLING
                                                                                   559 Old Mill Rd
      ERIC KNIFFIN                                                               Sandpoint, ID 83864
                                                                                    (425) 802-7326
      NO. 2:22-cv-00319-TOR - 3                                              E: bfahling@fahlinglaw.com
